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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

  GREENTHREAD, LLC

                Plaintiff,                            C.A. No. 23-cv-443-RGA-LDH

          vs.                                         JURY TRIAL DEMANDED

  ON SEMICONDUCTOR CORPORATION;
  SEMICONDUCTOR COMPONENTS
  INDUSTRIES, LLC D/B/A ON
  SEMICONDUCTOR LLC

                Defendants.


                  [PROPOSED] ORDER GRANTING GREENTHREAD’S
                  MOTION FOR LEAVE TO AMEND THE COMPLAINT

          For good cause shown, IT IS HEREBY ORDERED that Greenthread’s Motion for Leave

  to Amend is GRANTED, and Greenthread’s Third Amended Complaint is ENTERED.




  Date:
                                    The Honorable Richard G. Andrews
                                    United States District Judge
